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          EXHIBIT 27
10/1/2018

                                                                                                                                                                                           Me                   ree Upgrade
                                              Q Search                                                               A                                      rq            Q
                                                                                                                   Home       My Net, .        Jobs      Messaging    Notifications                     Wat'   to Premium




                                                               Social Technologies LLC
                                                               Media Production      Atlanta. GA    4 followers

                                                                    See 1 employee on Linkedln 9
                                                                                                                                                                           People also viewed
                                                                 + Follow           Seejobs
                                                                                                                                                                                          MEMO!!
                                                                                                                                                                            M$M..     .
                                                                                                                                                                                          Retail
                                                                                                                                                                                          2 -10 employees

                                       About us
                                       Social Technologies LLC is a digital based enterprise, focused on bringing innovative social media products to the                                 Shouty
                                                                                                                                                                                          Entertainment
                                       marketplace that enhance your online and phone -based messaging experience. Internet platforms are growing daily,
                                       and we have made it our imperative to keep up with the expansion of the digital communication environment by                                       2 -10 employees
                                       providing the consumer with exciting new methods to express themselves. The mission. at Social Technologies LLC. is to
                                       contribute to the continued enjoyment of digital interaction. through the introduction of creative messaging tools. that
                                       engage both sender. and recipient.                                                                                                                 App Partner
                                                                                                                                                                              L           Computer Software
                                       Our first foray into the marketplace is 'Locomojis: Emojis that come to life when you press send!" The Locomojis brand is                          11 -50 employees
                                       a suite of emojis that are upgraded derivations of the standard emoji, with the enhanced -capability of movement. Each
                                       Locomoji displays the action that the standard emoji displays in static form, with full -motility. which is the next logical
                                       evolutionary step in the messaging tool paradigm. In layman's terms: the kissing emoji, for example. will actually blow a                          Dogtown Media
                                       kiss. Also included in the Locomojis suite. will be additional movement based messaging tools such as the peace sign.                              Internet
                                       and the ever- popular mic drop. which performs the actual dropping motion.                                                                         11.50 employees

                                       In the latter part of 2017. we will also introduce Memoji. which utilizes the same movement technology of the Locomojis
                                       suite. allowing the consumer to capture a headshot of themselves. and convert the image to a personalized emoji. that
                                                                                                                                                                           itila          Money20 /20
                                       moves.                                                                                                                                       fi    Events Services
                                                                                                                                                                                          51 -200 employees
                                       The Player division serves the global gaming community. with eye catching apparel highlighting the meteoric rise of
                                       console. online. and mobile gaming. Several cross platform video games are currently under development inspired from
                                       both Locomojis and Memoji. showcasing an unparalleled cohesive brand strategy across multiple industries.                                                                              Messaging   ¿   o
                                       Social Technologies LLC. Putting more SOCIAL. in your MEDIA.


                                       Company details
                                       Website
                                       littps.//www.socialtechnologieslIc.corn

                                       Headquarters
                                       Atlanta GA

                                       Year founded                                                                                                                                                                                                      BONET
                                       2016
                                                                                                                                                                                                                                                                    Case 3:18-cv-05945-VC Document 125-27 Filed 10/30/19 Page 2 of 3




                                                                                                                                                                                                                                                        EXHIBIT
                                       Company type
                                       Partnership

                                       Company size                                                                                                                                                                                                      235
                                       2 -10 employees


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                                                                                                                                                                                                                                                  APL -STECH 00000512
10/1/2018

                                        1 Office location

                                         Main
                                         Atlanta. GA 30312
                                         Get directions




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                                        Get exclusive insights on 450,000+ public & private companies
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                                                See company growth      Itt
                                                and functional trends         leadership changes




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